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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION



 UNITED STATES OF AMERICA,
                                                    Case No. ________________

            Plaintiff,


            v.


 ROCK SOLID CONSTRUCTION
 SERVICES, LLC


            Defendant.



                                           COMPLAINT

       1.        Plaintiff the United States of America brings this civil action to enforce an

Internal Revenue Service (IRS) levy against defendant Rock Solid Construction Services, LLC

(“Rock Solid Construction”) and to obtain a judgment against Defendant for failure to honor the

levy. The United States also seeks penalties for Defendant’s failure to comply with the levy.

       2.        This action is authorized and requested by the Chief Counsel of the IRS, a

delegate of the Secretary of the Treasury of the United States, and is commenced at the direction

of the Attorney General of the United States.

       3.        This Court has jurisdiction over this action under 28 U.S.C. §§ 1340 and 1345 and

26 U.S.C. §§ 7402(a).

       4.        Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b) and 1396 because

Defendant has a principal place of business in this district, and because a substantial part of the
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events or omissions which gave rise to the United States’ claims in this action occurred within

this district.

                                        Travis Scott’s Tax Liabilities

        5.       The taxpayer, Travis R. Scott, is an individual who resides in Lakeland, Florida.

        6.       Rock Solid Construction has a principle place of business at 3905 Keene Rd,

Plant City, FL 33565.

        7.       Scott is a 50% shareholder of Rock Solid Construction. Scott’s father is also a

50% shareholder of Rock Solid Construction.

        8.       Scott receives wages and other income, reported on Form W-2 and Schedule K-1,

from Rock Solid Construction.

        9.       Scott is a tax defier who fails to comply with his federal tax obligations.

        10.      For example, for the years 2016 and 2017, Scott failed to report the income he

received from Rock Solid Construction, falsely reporting to the IRS on Forms 1040 that he

earned no income, and requesting a refund of all tax withheld from his earnings.

        11.      Separately, Scott manipulated the Schedule K-1’s he received from Rock Solid

Construction, crossing out the dollar amounts listed on the Schedule K-1’s and writing in “0”’

income by hand. Scott submitted these marked-up schedule K-1’s to the IRS, which he labeled as

a “rebuttal instrument to correct erroneous information”. Scott also prepared Form 4852,

substitute Form W-2 Wage and Tax Statements, on which he stated he earned no wages.

        12.      During a September 2019 meeting with the IRS in Tampa, Florida, Scott stated

that he did not believe that he is paid “wages,” that wages constitute property, not taxable

income, and that the IRS is not entitled to this property.

        13.      On December 21, 2015, a delegate of the Secretary of the Treasury assessed




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income tax of $12,533 against Scott for tax year 2009. Despite notice and demand for payment,

Scott did not pay this tax liability, and he currently owes (as of February 21, 2021) $15,990.77 in

unpaid tax, interest and penalties on account of this assessment.

       14.     Additional assessments were made against Scott under IRC § 6702(a) for filing

frivolous tax returns for 2009, 2010, and 2011, and he currently owes the following amounts in

account of those assessments as of as of February 21, 2021:

                     Year         Assessment         Assessed    Current Unpaid Balance
                                     Date            Amount       (inclusive of penalties
                                                                   and interest, less any
                                                                   payments or credits)

                     2009          1/12/2015          $5,000              $6,436,09

                     2010         10/27/2014         $15,000             $19,430.90

                     2011          9/1/2014           $5,000              $6,506.85

                                                                    Total: $32,373.84



       15.     As of February 21, 2021, Scott owes $48,364.61 on account of the assessments

described above, plus interest and statutory additions that continue to accrue.

       16.     A delegate of the Secretary of the Treasury properly gave Scott notice of the

unpaid taxes described in the above paragraphs and made demand for their payment. Despite

notice and demand for payment, Scott has refused and/or neglected to pay the amounts owed.

       17.     On March 30, 2016, the IRS sent Scott a notice of its intent to levy to collect his

unpaid liabilities and afforded him a right to request a collection due process hearing. Scott did

not request a hearing.




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                           Rock Solid Construction’s Failure to Honor Levy

        18.       On March 21, 2019, the IRS served a Notice of Levy (Form 668-W) on Rock

Solid Construction to collect the liabilities described above. The Notice of Levy required Rock

Solid Construction to remit funds payable to Scott to the IRS, but it failed to remit any payment

to the IRS.

        19.       Section 6331(e) of the Internal Revenue Code states that “the effect of a levy on

salary or wages payable or received by a taxpayer shall be continuous from the date such levy is

first made until such levy is released under [26 U.S.C. Section] 6343.” The wages Rock Solid

Construction pays to Scott fall within this provision.

        20.       On May 3, 2019, the IRS served a Final Demand for Payment (Form 668-C) on

Rock Solid Construction by hand delivery. The Final Demand is attached as Exhibit A. Once

again, Rock Solid Construction failed to comply with the Notice of Levy.

        21.       Instead, on May 8, 2019, Rock Solid Construction sent a letter (Exhibit B) to the

IRS indicating that it would refuse to honor the levy. The letter states in part:

        We are in receipt of your Form 668-W regarding one Travis R. Scott. Rock Solid
        Construction Services is committed as a matter of policy, and civic duty, to uphold the
        law, and it is our sincere desire to comply with all lawful obligations to which we are
        subject. You suggest such an obligation in your form, but we are troubled by what appear
        to us to be several areas in which your presentations, the statutory authority under which
        they are made, and the facts regarding Travis R. Scott do not seem to mesh well.

Exhibit B at 1.

        22.       The letter elsewhere states that “[a]s our [Rock Solid Construction’s] obligation to

Travis R. Scott is entirely unambiguous, we find it impossible to honor your directive without

clarification.” Exhibit B at 2.

        23.       Despite the Notice of Levy requiring it to remit all property and rights to

belonging to Scott to the IRS, Rock Solid Construction continues to pay Scott wages and income



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reportable on Schedule K-1.

       24.     To date, despite the levy, Rock Solid has remitted no payment to the IRS on

account of the Notice of Levy.

       25.     Rock Solid Construction lacks reasonable cause for failing to honor the levy it

received.

       26.     Pursuant to 26 U.S.C. § 6332(d)(2), any person required to surrender property or

rights to property pursuant to a levy, and who fails to so surrender without reasonable cause, is

liable for a penalty equal to 50 percent of the amount recoverable under 26 U.S.C. § 6332(d)(1).

       27.     The levy made on Rock Solid Construction has not been released. Pursuant to 26

U.S.C. § 6332(d)(1), Rock Solid Construction is liable to the United States in the amount equal

to the value of the total amounts paid to Scott (rather than the IRS) in violation of the levy, plus

interest from the date of each payment to Scott, but not exceeding the amount of taxes, interest,

and penalties owed by Scott. Those payments subject to levy include any payment to Scott

subsequent to the service of Notice of Levy, minus any applicable exemption pursuant to 26

U.S.C. § 6334(d).

                                     PRAYER FOR RELIEF

   WHEREFORE, Plaintiff, the United States of America, prays for the following relief:

       A.      That the Court find that Rock Solid Construction has paid Travis R. Scott salary

or wages subject to levy, that Rock Solid Construction has not surrendered such payments to the

IRS, and that such failure to surrender was without reasonable cause;

       B.      That the Court enter judgment Rock Solid Construction for sums determined to be

paid to Scott in violation of the IRS levy, plus statutory interest on each payment to Scott in

violation of the levy from the dates thereof, up to the amount of Scott’s unpaid federal income

tax liabilities for 2009, 2010 and 2011;


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        C.      That the Court enter judgment against Rock Solid Construction for a penalty

pursuant to 26 U.S.C. § 6332(d)(2) in an amount equal to 50 percent of the amount recoverable

under 26 U.S.C. § 6332(d)(1); and

        D.      That the Court grant the United States such other and further relief, including

costs, as is just and equitable.


Date: March 19, 2021

                                              Respectfully submitted,

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